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 1   Cynthia L. Filla (SBN 184638)
     Paul J. Cohen (SBN 293797)
 2   JACKSON LEWIS P.C.
     725 South Figueroa Street, Suite 2500
 3   Los Angeles, California 90017-5408
     Telephone:     (213) 689-0404
 4   Facsimile:     (213) 689-0430
     E-mail:        cynthia.filla@jacksonlewis.com
 5   Email:         Paul.cohen@jacksonlewis.com

 6   Attorneys for Defendants
     Embassy Suites Management LLC and
 7   Embassy Suites Employer LLC (both erroneously
     sued as Embassy Suites by Hilton Anaheim Orange)
 8   Hilton Honors Worldwide LLC (erroneously sued as
     Hilton HHonors Worldwide, LLC)
 9
                         SUPERIOR COURT FOR THE STATE OF CALIFORNIA
10
                   FOR THE COUNTY OF ORANGE – CENTRAL JUSTICE CENTER
11

12
     MARIA GARCIA, an individual,                         CASE NO.: 30-2020-01165485-CU-OE-CJC
13
                   Plaintiff,                             [Assigned for all purposes to the Honorable
14                                                        Gregory H. Lewis, Dept. C26]
            vs.
15                                                        ANSWER OF HILTON HONORS
     EMBASSY SUITES BY HILTON ANAHEIM                     WORLDWIDE LLC, EMBASSY SUITES
16   ORANGE, a business entity, form unknown;             MANAGEMENT LLC AND EMBASSY
     HILTON HHONORS WORLDWIDE, LLC., a                    SUITES EMPLOYER LLC TO PLAINTIFF
17   Delaware Limited Corporation, and DOES 1             MARIA GARCIA’S COMPLAINT FOR
     through 25, inclusive,                               DAMAGES
18
                   Defendants.
19                                                        Complaint Filed:      October 15, 2020
20

21          Embassy Suites Management LLC and Embassy Suites Employer LLC (both erroneously sued as
22   “Embassy Suites by Hilton Anaheim Orange”), and Hilton Honors Worldwide LLC (erroneously sued as
23   “Hilton HHonors Worldwide, LLC”) (“Defendants”) on behalf of themselves and for no other defendant,
24   hereby respond to the Complaint for Damages (“Complaint”) filed by Plaintiff Maria Garcia (“Plaintiff”)
25   and admit, denies and otherwise pleads as follows:
26   ///
27   ///
28   ///
                                              1
        ANSWER OF HILTON HONORS WORLDWIDE LLC, EMBASSY SUITES MANAGEMENT LLC AND
       EMBASSY SUITES EMPLOYER LLC TO PLAINTIFF MARIA GARCIA’S COMPLAINT FOR DAMAGES`
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 1                                              GENERAL DENIAL

 2           Under the provisions of section 431.30(d) of the Code of Civil Procedure, Defendants generally

 3   and specifically deny each and every allegation contained in the unverified Complaint, and each cause of

 4   action alleged therein. Defendants further deny that Plaintiff was injured or damaged as alleged, or at all,

 5   by reason of any wrongful act, breach, violation, or omission by Defendants.

 6                                         AFFIRMATIVE DEFENSES

 7           Defendants have not completed their investigation of the facts of this case, discovery in this matter,

 8   or preparation for trial or arbitration. The affirmative defenses asserted herein are based on Defendants’

 9   knowledge, information and belief at this time. Without conceding that Defendants bear the burden of

10   proof or persuasion as to any one of these, as separate and distinct affirmative defenses to Plaintiff’s

11   Complaint and the causes of action alleged therein, and to each of them, Defendants allege the following

12   defenses to the Complaint.

13                                  FIRST AFFIRMATIVE DEFENSE

14           1.      The Complaint as a whole, and each purported cause of action alleged therein, fails to state

15   facts sufficient to constitute a cause of action against Defendants upon which relief may be granted.

16                                  SECOND AFFIRMATIVE DEFENSE

17           2.      Defendants allege that the action is barred because Plaintiff agreed, in writing, to arbitrate

18   any dispute, claim or controversy arising out of her employment with Defendants, including the claims

19   asserted in the action. Plaintiff has failed to comply with this agreement to arbitrate, and the agreement
20   precludes this litigation.

21                                  THIRD AFFIRMATIVE DEFENSE

22           3.      The Complaint as a whole, and each purported cause of action alleged therein, is barred in

23   whole or in part by the applicable statute of limitations including, but not limited to, California Code of

24   Civil Procedure sections 335.1, 337, 338(a), 340(a), 340(b), 343, Labor Code section 203; and California

25   Business and Professions Code section 17208.

26                                  FOURTH AFFIRMATIVE DEFENSE

27           4.      Plaintiff’s claims are barred, in whole or in part, to the extent Plaintiff failed to timely

28   exhaust administrative remedies under California Labor Code sections 98-98.2.

                                              2
        ANSWER OF HILTON HONORS WORLDWIDE LLC, EMBASSY SUITES MANAGEMENT LLC AND
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 1                                   FIFTH AFFIRMATIVE DEFENSE

 2           5.       Plaintiff’s Complaint, and each purported cause of action therein, is barred by the doctrines

 3   of laches, consent, waiver, estoppel, and/or unclean hands.

 4                                   SIXTH AFFIRMATIVE DEFENSE

 5           6.       Plaintiff’s Complaint as a whole, and each purported cause of action alleged therein, is

 6   barred in whole or in part because Plaintiff had received all wages, income, compensation, and pay to

 7   which she has ever been entitled and is therefore not entitled to any wages or other compensation or

 8   penalties under the Labor Code, the applicable Wage Orders of the Industrial Welfare Commission and/or

 9   any other law.

10                                   SEVENTH AFFIRMATIVE DEFENSE

11           7.       To the extent Plaintiff alleges she not properly compensated for their time worked, such

12   amounts are de minimis, and are not compensable under applicable law.

13                                   EIGHTH AFFIRMATIVE DEFENSE

14           8.       Any recovery on Plaintiff’s Complaint with respect to allegations of failure to provide meal

15   or rest periods are barred because Defendants complied with all applicable provisions of the Labor Code,

16   the Wage Orders of the Industrial Welfare Commission, and/or applicable federal law regarding the

17   provision of meal and rest periods.

18                                   NINTH AFFIRMATIVE DEFENSE

19           9.       Plaintiff’s Complaint, and each purported cause of action alleged therein, is barred by the
20   doctrine of in pari delicto due to the conduct of Plaintiff, including, but not limited to, her voluntary failure

21   to accurately report her time worked, and her voluntary waiver of meal and rest breaks.

22                                   TENTH AFFIRMATIVE DEFENSE

23           10.      Even assuming arguendo Plaintiff was not provided with a proper itemized statement of

24   wages and deductions, Plaintiff is not entitled to recover damages because Defendants’ alleged failure to

25   comply with California Labor Code § 226(a) was not a “knowing and intentional failure” under California

26   Labor Code § 226 (e).

27   ///

28   ///

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        ANSWER OF HILTON HONORS WORLDWIDE LLC, EMBASSY SUITES MANAGEMENT LLC AND
       EMBASSY SUITES EMPLOYER LLC TO PLAINTIFF MARIA GARCIA’S COMPLAINT FOR DAMAGES`
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 1                                 ELEVENTH AFFIRMATIVE DEFENSE

 2            11.   Defendants are informed and believe, and thereon allege, the Complaint as a whole, and

 3   each purported cause of action therein, is barred in whole or in part by the doctrine of after-acquired

 4   evidence, or the doctrine of after-acquired evidence limits and reduces Plaintiff’s alleged damages.

 5                                 TWELFTH AFFIRMATIVE DEFENSE

 6            12.   Defendants are informed and believe and thereon alleges that any recovery on Plaintiff’s

 7   Complaint, or on each purported cause of action alleged therein, is barred by California Labor Code

 8   sections 2854 and 2856 in that Plaintiff failed to use ordinary care and diligence in the performance of his

 9   duties and failed to comply substantially with the reasonable directions of her employer.

10                              THIRTEENTH AFFIRMATIVE DEFENSE

11            13.   Even assuming arguendo Plaintiff was not provided with a proper itemized statement of

12   wages and deductions, Plaintiff is not entitled to recover damages because he did not suffer any injury.

13                              FOURTEENTH AFFIRMATIVE DEFENSE

14            14.   Plaintiff’s claims are barred, in whole or in part, and/or recovery is precluded because

15   Plaintiff failed to work or record all time worked, and/or take all meal periods and rest breaks, and/or

16   record all meal periods taken, as reasonably permitted, expected, and or required by Defendants.

17                              FIFTEENTH AFFIRMATIVE DEFENSE

18            15.   Defendants are entitled to an offset for amounts Plaintiff owes Defendants, for receipt of

19   any wages and other benefits to which Plaintiff was not entitled and/or did not earn.
20                              SIXTEENTH AFFIRMATIVE DEFENSE

21            16.   Plaintiff is barred from recovering any damages, or any recovery must be reduced, by virtue

22   of Plaintiff’s failure to exercise reasonable diligence to mitigate her alleged damages.

23                              SEVENTEENTH AFFIRMATIVE DEFENSE

24            17.   To the extent Plaintiff seeks equitable relief under Business and Professions Code section

25   17200, et. seq, she is not entitled to a jury trial and instead must adjudicate her claims by way of a bench

26   trial.

27   ///

28   ///

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         ANSWER OF HILTON HONORS WORLDWIDE LLC, EMBASSY SUITES MANAGEMENT LLC AND
        EMBASSY SUITES EMPLOYER LLC TO PLAINTIFF MARIA GARCIA’S COMPLAINT FOR DAMAGES`
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 1                                 EIGHTEENTH AFFIRMATIVE DEFENSE

 2           18.     Any recovery on Plaintiff’s Complaint, or any purported cause of action alleged therein, is
 3   barred in whole or in part because Defendants are entitled to an offset for any monies Plaintiff received

 4   from any source after Plaintiff ceased to be employed by Plaintiff’s employer under the doctrine

 5   prohibiting double recovery set forth by Witt v. Jackson (1961) 57 Cal.2d 57 and its progeny.

 6                                 NINETEENTH AFFIRMATIVE DEFENSE

 7           19.     Although Defendants deny that it has committed or is liable for any act that could support

 8   recovery of penalties in this lawsuit, to the extent any such act is found, recovery of penalties against

 9   Defendants is unconstitutional under numerous provisions of the United States Constitution, including the

10   Excessive Fines Clause of the Eighth Amendment and the Due Process clauses of the Fifth Amendment,

11   as well as numerous provisions of the California Constitution, including the Excessive Fines Clause of

12   section 17 of Article I, the Due Process Clause of section 7 of Article I and the Self-Incrimination Clause

13   of section 15 of Article I.

14                                 TWENTIETH AFFIRMATIVE DEFENSE

15           20.     To the extent Plaintiff seeks statutory penalties for alleged willful failure to comply with

16   the requirements of the Labor Code, such penalties are barred or must be reduced because Defendants did

17   not willfully violate the requirements of Labor Code §§ 201, 202, and 203, or any other applicable Labor

18   Code section, and a good faith dispute exists concerning such alleged violations.

19                                 TWENTY-FIRST AFFIRMATIVE DEFENSE
20           21.     Defendants have engaged attorneys to represent it in the defense of Plaintiff’s frivolous,

21   unfounded, and unreasonable action and Defendants are thereby entitled to an award of reasonable

22   attorneys’ fees and costs, including pursuant to California Labor Code section 218.5, and California Code

23   of Civil Procedure section 1021.5 upon judgment thereon in their favor.

24                           TWENTY-SECOND AFFIRMATIVE DEFENSE

25           22.     Plaintiff’s claims are barred, in whole or in part, and/or recovery is precluded because

26   Defendants’ conduct was not willful.

27   ///

28   ///

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        ANSWER OF HILTON HONORS WORLDWIDE LLC, EMBASSY SUITES MANAGEMENT LLC AND
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 1                               TWENTY-THIRD AFFIRMATIVE DEFENSE

 2           23.     Plaintiff’s claim for waiting-time penalties under Labor Code Section 203 is barred, in

 3   whole or in part, because Defendants’ conduct was not willful.

 4                           TWENTY-FOURTH AFFIRMATIVE DEFENSE

 5           24.     Plaintiff’s cause of action under California Business & Professions Code section 17200, et

 6   seq. is barred to the extent Plaintiff seeks attorney’s fees which are not recoverable remedies. The People

 7   ex rel City of Santa Monica (2010) 186 Cal.App.4th 882.

 8                               TWENTY-FIFTH AFFIRMATIVE DEFENSE

 9           25.     Plaintiff’s Complaint, and each purported cause of action alleged therein, is barred in whole

10   or in part because any duty or obligation by Defendants to pay wages, whether contractual or otherwise,

11   which Plaintiff claims is owed to her has been fully performed, satisfied and/or discharged.

12                               TWENTY-SIXTH AFFIRMATIVE DEFENSE

13           26.     Without admitting the allegations of the Complaint, Defendants allege Plaintiff’s cause of

14   action under California Business and Professions Code sections 17200, et seq., is barred because the

15   practices alleged are not unfair, the public is not likely to be deceived by any alleged practices, Defendants

16   gained no competitive advantage by such practices and the benefits of the alleged practices outweigh any

17   harm or other impact they may cause.

18                           TWENTY-SEVENTH AFFIRMATIVE DEFENSE

19           27.     Plaintiff is not entitled to any equitable or injunctive relief as prayed for in the Complaint
20   because Plaintiff has suffered no irreparable injury based on any alleged conduct of Defendant and

21   Plaintiff has an adequate remedy at law for any such conduct.

22                           TWENTY-EIGHTH AFFIRMATIVE DEFENSE

23           28.     Plaintiff’s claim for monetary damages under California Business and Professions Code

24   Section 17200, et seq. is barred in its entirety.

25                               TWENTY-NINTH AFFIRMATIVE DEFENSE

26              29. Plaintiff’s Sixth Cause of Action is barred, in whole or in part, because Defendants’

27   business practices are and were not “unlawful” in that Defendant complied with all applicable statutes
28
     and regulations in the payment of compensation to Plaintiff.
                                              6
        ANSWER OF HILTON HONORS WORLDWIDE LLC, EMBASSY SUITES MANAGEMENT LLC AND
       EMBASSY SUITES EMPLOYER LLC TO PLAINTIFF MARIA GARCIA’S COMPLAINT FOR DAMAGES`
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 1        WHEREFORE, Defendants pray for judgment as follows:

 2        1.    That Plaintiff take nothing by her Complaint;

 3        2.    That the Complaint be dismissed in its entirety with prejudice;

 4        3.    For reasonable attorney’s fees;

 5        4.    For costs of suit herein; and

 6        5.    For such other and further relief as the Court may deem just and proper.

 7

 8

 9   DATED: December 29, 2020                                 JACKSON LEWIS P.C.

10

11                                                By:
12                                                      Cynthia L. Filla
                                                        Paul J. Cohen
13                                                      Attorney for Defendants
                                                        Embassy Suites Management LLC and
14                                                      Embassy Suites Employer LLC (both erroneously
                                                        sued as Embassy Suites by Hilton Anaheim Orange)
15                                                      Hilton Honors Worldwide LLC (erroneously sued
                                                        as Hilton HHonors Worldwide, LLC)
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        ANSWER OF HILTON HONORS WORLDWIDE LLC, EMBASSY SUITES MANAGEMENT LLC AND
       EMBASSY SUITES EMPLOYER LLC TO PLAINTIFF MARIA GARCIA’S COMPLAINT FOR DAMAGES`
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 1                                           PROOF OF SERVICE

 2   STATE OF CALIFORNIA, ORANGE – CENTRAL JUSTICE CENTER

 3   CASE NAME:              Maria Garcia v. Embassy Suites et al.

 4   CASE NUMBER:            30-2020-01165485-CU-OE-CJC

 5           I am employed in the County of Los Angeles, State of California. I am over the age of 18 and not
     a party to the within action; my business address is 725 South Figueroa Street, Suite 2500, Los Angeles,
 6   California 90017.

 7            On December 29, 2020, I served the foregoing document described as:
      ANSWER OF HILTON HONORS WORLDWIDE LLC, EMBASSY SUITES MANAGEMENT
 8         LLC AND EMBASSY SUITES EMPLOYER LLC TO PLAINTIFF MARIA GARCIA’S
                                          COMPLAINT FOR DAMAGES
 9
     in this action by transmitting a true copy thereof enclosed in a sealed envelope addressed as follows:
10
      Janeth Arias, Esq.
11    Angela Leong, Esq.
      Blanco & Arias APC
12    21171 S. Western Ave., Suite 2812
      Torrance, CA 90501
13    Phone: 310-904-6210
14
      Attorneys for Plaintiff
15    Marylou Jauregui

16   [X]       BY MAIL

17          [ ] I deposited such envelope in the mail at Los Angeles, California. The envelope was mailed
     with postage thereon fully prepaid.
18
            [X] As follows: I am "readily familiar" with the firm's practice of collection and processing
19   correspondence for mailing. Under that practice it would be deposited with U.S. postal service on that
     same day with postage thereon fully prepaid at Los Angeles, California in the ordinary course of business.
20   I am aware that on motion of the party served, service is presumed invalid if postal cancellation date or
     postage meter date is more than one day after date of deposit for mailing in affidavit.
21
      [X] STATE I declare under penalty of perjury under the laws of the State of California that the
22   above is true and correct.

23             Executed on December 29, 2020 at Los Angeles, California.

24

25
                                                         Ruth Perez-Pico
26
     4812-6227-9637, v. 1

27

28


                                                       1
                                                PROOF OF SERVICE
